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EXECUTIVE OFFICE OF THE PRESIDENT
OFFICE OF MANAGEMENT AND BUDGET
WASHINGTON, D.C. 20503

November 13, 2017

Mr. Daniel Massoglia
Attorney at Law

Sent via email: dmassoglia@gmail.com

Dear Mr. Massoglia:

This responds to your Freedom of Information Act (FOIA) request to the Office of
Management and Budget (OMB) dated July 11, 2017, which was received in this office on July
12, 2017 and assigned tracking number 17-320, Your request seeks metadata for all emails sent
or received in the month of January 2017 by or from persons with an email address ending with
“omb,eop. gov.”

Please be advised that this is an overly broad request. The request is not limited to any
particular topic (or topics), and instead asks for data regarding emails either sent or received by
anyone employed by OMB, which has several hundred employees. In order to comply with this
request, a voluminous number of emails would need to be searched and processed. In addition,
given the breadth of the request as well as the nature of requested material, it is highly likely that
a significant percentage of responsive documents could be exempt from mandatory disclosure
under FOIA. In particular, the documents are likely to be exempt under FOIA Exemption 5, as
being covered by one or more of the following privileges (among other potentially-applicable
privileges): the deliberative process privilege, the attorney-client communications privilege,
and/or the attorney work product privilege.

As a result, the process of OMB conducting a search for documents that are potentially
responsive to this overly broad request, and conducting a review of the potentially responsive
documents to determine which materials are responsive and exempt from mandatory disclosure
(and, in the case of the exempt materials, conducting a further review to determine which
materials are appropriate for discretionary release), and coordinating and consulting with other
affected offices (outside of OMB) that have a potential interest in such documents, will likely be
very time-consuming and overly burdensome.

Accordingly, unless you are able to narrow this request by providing more specificity,
such as a subject matter, we will administratively close the file for this request on December 27,
2017. If you would like to discuss ways in which OMB could search for a more narrow set of
documents that will allow us to provide you timely access to information you are seeking, please
feel free to contact us at (202) 395-FOIA, prior to submitting a modification or a new request.

Sincerely,

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ionne Hardy
FOIA Officer
